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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT NEW YORK

 

Charlene Y. Latham, plaintiff 1
David G. Latham, plaintiff 2

Tracey Y. Latham, plaintiff 3 Case No.:
John Doe (1-10) Case type: civil
Jane Doe (1- 5) Judge:
V.
. The 1953 Trust, Defendant PLAINTIFE’S STATEMENT

1

2. Harvey Weinstein, defendant. OF THE CASE
3. Shawn Carter, defendant

4. Darren Indyke, defendant

5. Richard Kahn, defendant

6. The Weinstein Corporation, defendant

7. Miramax, llc. (aka Miramax Films), defendant
8. The Walt Disney Company, defendant

9. Def Jam Recordings, defendant

10. Rocnation, Ilc., defendant

1L. Universal Music Group, defendant

12, Beyoncé G Knowles, defendant

13. Kanye O. West, defendant

t4. Terrence Thornton, defendant

15. Black Cube ltd., defendant

16. Vivendi SA, defendant s 8
17. Dwayne Carter, defendant ~ <=
18. Jean Luc Brunel, defendant So a
19. Young Money Entertainment, defendant =) a Q
20. G.O.O.D. Music, defendant wo m
21. Shelley Massenburg-Smith, defendant On a
22. David Boies, defendant, . S 2 a)
23. Robert Kelly, defendant 2 a

rm

24. Milton Brown, defendant

25. Marcello Claure, defendant

26. Sprint Corporation, defendant

27. ViacomCBS, defendant

28. Virgil Abloh, defendant

29. Quatar Investment Authority, defendant
30. Tutor-Saliba Corporation, defendant

31. Ghislaine Maxwell, defendant

32. Parkwood Entertainment, defendant

33. The City of New Yok; New York City Police Department, defendant
34. Sir Philip Green, defendant

35. Sony Entertainment, defendant

36. John Does (1 — 100), defendant(s)

37. Jane Does (1- 100), defendant(s)

38. Corporation Does (1 — 100), defendant(s)

 

 
 

 

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PLAINTIFF’S STATEMENT OF THE CASE
. Plaintiff #1 enters this statement as formal statement of the case against all Defendants as captioned in

page one of this statement.

. The “Doe” Defendants, including corporations and their executive or involved personnel, are fully
included in this action; The “Doe” Defendants represent employees, partners, collaborators, vendors,
third parties, heirs, & related entities whose identities & specific criminal roles have been intentionally
concealed or withheld by the Defendants to prevent their being brought to justice by being named in this
(and other) civil complaints while intentionally being made unavailable to the Plaintiff(s) of this action
to avoid redress.

Corporate Defendants named or identified as “Does” are accused of aiding and abetting in the
facilitation of the unlawful surveillance (spying), stalking and repeated drugging, abducting, hostage
taking and kidnapping for the criminal intent of sexual assault, abuse, extortion and exploitation in the
same capacity as any Person named as Defendant & in their capacity as Corporations providing support
to the criminal enterprise of the Defendants 1-3 as corporate purveyors, facilitators/conspirators and
including by providing money laundering services to route payments to the parties of this large scale
criminal enterprise of criminal activity targeting the Plaintiffs.

Some “Doe” Defendants’ identities are not revealed at the time of filing this Statement to protect or
preserve any criminal investigations occurring that may be jeopardized or undermined if the Plaintiff(s)
reveal certain “Doe” Defendants identities at this stage of the proceedings.

Over the course of decades, the Defendants established a lucrative but sociopathic, criminal enterprise
where the Defendants engaged in decades of human trafficking, sexual assaults and various abuses
including financial & economic exploitation, drugging for abduction, taking Plaintiff(s) #1 and Plaintiffs

John & Jane Doe (1 -10) hostage, et al.

 
 

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The Defendants engaged in this criminal and sociopathic conduct as a form of specific criminal
intentions designed as sexual harassment, extortion, physical torture, psychological torment and revenge
targeting Plaintiff #3 for her refusal to sell her child (Plaintiff #1) or children (John Doe & Jane Doe
Plaintiffs) to the Defendants 1-3.

When Plaintiff #3 refused to sell or allow the Defendants, in any capacity, to sexually abuse or
financially exploit Plaintiff #1 or any of her other children and grandchildren (represented as John &

Jane Doe Plaintiffs 1-10) at any time, the Defendants began targeting the family for economic abuses
and financial exploitation that not only consisted of drugging the children of Plaintiffs 2&3 for sex
trafficking, hostage taking and related abuse but also began exploiting the Plaintiffs for thefts of trade
secrets, intellectual property and tortious interference in the Plaintiffs’ career and economic
opportunities.

This extensive scheme of the Defendants was initiated by Jeffrey Epstein, the decedent represented
throughout this action by his estate The 1953 ‘Trust, as revenge against Plaintiff #3.

Plaintiff #3 agreed to out of court multi-million dollar monetary settlement in the late 1980s/early 1990s
to avoid a public criminal and civil prosecution for Epstein’s sexual abuse of several of the Plaintiffs 2
& 3’s children; Plaintiffs 2 & 3 share 6 children together G sons, 3 daughters & approximately 14
grandchildren). |
After misappropriating Leslie Wexner’s money to pay the settlement, Jeffrey Epstein devised a scheme
of revenge and recovery of the money by targeting the Plaintiffs for drugging and trafficking the
children for continued abuse at his various orgies around the world where he was paid large sums by
“elite” attendees of the salacious events and then used the money from abusing the Plaintiffs to repay his

debt to Wexner.

. The decades of abuse and sexual assaults were equally to the benefit, entertainment and economic

enrichment of the Corporations as well as facilitated, in whatever capacities, by the Corporations/their

managers and personnel as by any Person named as defendant.

 

 
 

 

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This action is in the US Southern District Court of New York because it is where the Defendants’
conspiracies to traffick and exploit for criminal sexual intent targeting Plaintiff #1 occurred when she
was a minor child belonging to and in the custody of Plaintiffs 2 & 3.

Over the course of thirty years, since at least 1988 or 1989 the Defendants did conspire to unlawfully
surveil, drug and abduct for sexual assault, sex trafficking, and other exploitative abuse Plaintiff #1
around the world; specifically throughout the Southern District of New York.

This action is entered into the US Southern District Court of New York as it is one jurisdiction in which
the Defendants abducted Plaintiff #1 to at approximately age 13 to sexually assault & exploit sexually

for financial gain.

. The Defendants Harvey Weinstein, Shawn Carter, Jeffrey Epstein (represented in this action as

defendant #1 The 1953 Trust) conspired together and with the other Defendants to illegally transact a
“purchase agreement” giving them “ownership” of Plaintiff #1 while she was a minor child residing in
the state of Illinois at approximately aged 5 or 6 years old in the custody of her Parents, Plaintiffs 2 & 3
with the intent of committing criminal sex acts against the Plaintiff as a child and throughout the course
of her entire adult life.

The Defendants 1, 2, & 3 at no time communicated with nor received permission from Plaintiffs 2 & 3
(the biological and custodial parents of Plaintiff #1) to purchase Plaintiff #1 or otherwise take possession
of her at any time as a minor child.

Over the course of at least thirty years and longer the Defendants conspired to surveil or stalk Plaintiff 1
& 3 in order to track the female Plaintiffs with the intent to commit various sex acts, ef al, against them.
The Defendants 1,2, & 3 conspired with the various parties & corporations named as defendants to stalk
the Plaintiffs in order to drug, abduct and traffick the Plaintiff #1 to various “events” known as “Sex
parties” hosted by the now decedent, Jeffrey Epstein, (represented as Defendant #1) around the world
for abuse by “elite”/high profile/wealthy purveyors held at all of Defendant #1’s properties, including in

the United States & Virgin Islands with the intention of committing crimes against the Plaintiffs.
 

 

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At age 13, specifically, the Plaintiff #1 was stalked in the State of Missouri, drugged & trafficked to be
sexually abused at an “event” at 9 East 71% Street Manhattan NY 10021 by the conspiring Defendants.
At this piece of property owned by Defendant #1, Plaintiff #1 was sexually assaulted by various parties
in attendance, specifically Harvey Weinstein and Shawn Carter.

The Defendants #2 & 3 willfully & forcibly raped Plaintiff #1 and committed lewd and sexual acts

against and upon her without consent of any Plaintiffs at this “event” held at the Manhattan property.

The Plaintiffs were repeatedly stalked, placed under unlawful surveillance, drugged, abducted and
trafficked for sexual assault, abuse and exploitation at regular interval over the course of the more than

20 years after the attack at the Manhattan townhouse owned by Defendant #1.

Jeffrey Epstein (represented as Defendant #1) conspired with Harvey Weinstein and Shawn Carter to
initiate a system of stalking, surveillance, drugging, abducting and trying to physical control, abuse or

financially exploit and extort the Plaintiff #1.

This conspiracy was in revenge/retaliation for settling a multi-million dollar lawsuit out of court with
Plaintiff #3’s mother for Epstein’s crime of sexually abusing Plaintiff #1 and several of her siblings
aboard the “Lolita Express” private jet with the currently deregistered tail number of N9O8JE and on
“Pedophile Island” the privately owned Little St. James Island in the late 1980s to early 1990s after

being entrusted with the unsupervised care of the children.

The Defendants conspiracy to operate this criminal enterprise targeting the Plaintiffs spanned the entire
nation of the United States; anywhere the Plaintiffs traveled or resided.

The Defendants’ system of stalking, drugging and trafficking involved a complex, sophisticated criminal
network established among and in tandem with all of the Defendants to traffick Plaintiff #1 for their

abuse, exploitation, entertainment and criminal intentions of racketeering, extortion and sex crimes.
 

 

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This complex network of the criminal enterprise targeting the Plaintiff involved the Defendants
compensating the co-conspirator Defendants for their crimes of stalking, drugging, abducting and
assaulting the Plaintiff #1 at the behest of Defendants 1 — 3 through use of various business transactions
including but not limited to offering and or facilitating employment contracts, lucrative partnership
contracts such as record deals, fashion industry ventures and other assorted goods and services; such as
company perks like luxury cars, housing/real estate gifts and large sums of cash disguised as “record

advances” and other “legitimate business deals” for decades.

The Defendants engaged in intentional tortious interference, kidnapping and holding the offspring of
Plaintiff #3 ( specifically Plaintiff #1) hostage by routinely “hiring” Defendants to stalk and illegally
surveil the Plaintiffs and interact with the Plaintiff #1 under the disguise of “befriending” her or having
“romantic” or “business” interest in any of the Plaintiffs so that they could use the false relationship to
facilitate exploitation, hostage taking and abuse targeting the aforementioned Plaintiffs.

This deception to commit tortious interference was done regularly to allow the Defendants ease of
accessing the Plaintiffs’ private life and spaces when Plaintiff #3 began violently demanding the
Defendants 1-3 (Defendant 1 is representative of the Deceased, Jeffrey Epstein) immediately cease and

desist their extensive harassment, stalking and kidnapping campaigns against her and her family.

Plaintiff #3 was made aware of the Defendants activities by numerous witnesses who refused to
participate in the criminal operations after being solicited for hire to partake in the criminal operations
and receive very lucrative compensation packages including large sums of cash and high-profile

entertainment contracts such as high visibility marketing and promotions opportunities.

When informed of the conspiracy targeting her and her minor children, the Plaintiff #3 did take

numerous and repeated action to demand the Defendants cease and desist all illegal or abusive conduct.
 

 

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The Defendants 1- 3, however, engaged in establishing a thorough network of criminal operatives to
facilitate their enterprise of spying, stalking, unlawful surveillance, breaking and entering, tortious
interference, numerous sexual assaults, sexual battery, financial exploitation, physical abuse, emotional
harm, psychological torture, sexual harassment, lewd conduct, kidnapping, human trafficking and
extreme abuses for decades specifically targeting Plaintiffs 1 & 3 and their offspring rather than cease

and desist their criminal enterprise.

This criminal enterprise orchestrated by the Defendants escalated beyond the sexual assaults, abuse,
harassment and emotional harm into intense and extensive financial exploitation of the Plaintiffs 1 —3
and their offspring/ Jane & John Doe Plaintiffs.

The Defendants repeated abduction and hostage taking of the children of Plaintiffs 2 & 3 caused them
emotional harm and caused financial damages in the course of regaining possession of the children.
Lucrative career contracts in Professional sports, entertainment and other industries were forfeited in
exchange for or consequence of redressing the crimes targeting Plaintiff #2 & #3’s shared 6 (six)
biological children; including but not limited to Plaintiff #1.

When the Plaintiffs could not be used for sex trafficking exploitation, the Defendants exploited the
Plaintiffs’ economic prowess and unique abilities to pick stocks, predict business/market trends, create
very lucrative trade secrets, create lucrative intellectual property and develop very profitable business
concepts and consumer products in a diverse array of industries.

The Defendants orchestrated a criminal enterprise valued at billions of dollars by the trafficking and
economic exploitation of the Plaintiffs for which the trade secret thefts and related business/intellectual
property crimes played a significant role in the profitability of the criminal enterprise and such crimes

are being addressed in separate actions in the appropriate jurisdiction(s).
 

 

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The Defendants began stalking and surveilling the Plaintiff #1 as a child to misappropriate trade secrets,
intellectual property and other business and creative works of the Plaintiffs over the course of at least 3

decades with no intention of stopping despite repeatedly being demanded to by the Plaintiffs 1 & 3.

This financial exploitation became very lucrative for the Defendants where hundreds of millions to
billions of dollars have been collected/earned worldwide by the Defendants through their decades of
exploiting the Plaintiff's creative and intellectual abilities while under the intense or constant
surveillance of the Defendants who used audio, visual, and conspiring to befriend/date the Plaintiffs 1 &
3 strictly to collect the private information or trade secrets and intellectual property in the furtherance of

this criminal enterprise expanding beyond the described sex crimes.

The Plaintiff #1 is seeking civil redress in a separate complaint and jurisdiction for the extensive trade
secret infringement, economic espionage, economic terrorism, and assorted extreme financial

exploitation and abuses committed by the Defendants against the Plaintiffs.

. Plaintiffs have only mentioned the Defendants worldwide abuse and unlawful use of trade secret,

intellectual property infringements, abuse of Plaintiffs 1 & 3’s likeness in the development and
worldwide marketing of numerous high profile singers, rappers, entertainers and entertainment projects
including but not limited to musical albums, music videos, television shows, et a/, in this action to
provide scope of the abuse endured when the Defendants were unable to drug, abduct/kidnap the
Plaintiff #1 for repeated drugged sexual assaults or hold hostage for ransom by the Defendants and their

criminal enterprise.

This action captioned in the header, filed in the US Southern District of NY is specifically redressing the

decades of sex crimes targeting the Plaintiffs and their offspring.

 

 
 

 

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When the Plaintiffs were able to prevent the drugged, abductions for sexual assaults against the Plaintiff
as a minor child and well into her adulthood, the Defendants 1- 3 responded by engaging in extreme

forms of harassment that they conspired with the other Defendants to initiate or facilitate.

This harassment includes, but is not limited, to sexual assaults, feticide, sexual harassment, verbal
abuse, psychological torture/harassment such as “gaslighting” and paying Defendants to collect sexual
data or other sexually explicit content featuring the Plaintiffs 1 & 3 by engaging in sex acts that would
be classified as sexual battery in various jurisdictions on hidden cameras.

The harassment includes creating pedophilia where the Plaintiff #1 (and other Doe Plaintiffs) were
recorded in various states of undress as minors, in private spaces and when drugged & trafficked aboard
the private jet owned by Defendant #1, as well as other spaces, for sexual assault where Plaintiff #1 (&

other Doe Plaintiffs) were being presented as “child prostitute(s)” to the “clients” of the Defendants.

Plaintiff #1 submits this Statement of the Case to obtain justice to disrupt the Defendants ongoing
actions to obstruct such justice while retaining and or generating profits collected from the abuse of the
Plaintiffs as outlined above and throughout the detailed formal complaint pending submission into the

case record by deceiving all parties.

Defendants attempt at hiding all involvement in the Defendants’ sophisticated scheme of operating a
criminal enterprise of human trafficking and trade secret theft has been ongoing for more than thirty
years and the ongoing criminal conduct indicates the Defendants spirited refusal to stop the conduct and
their interest in continuing to enjoy the lavish profits from the criminal enterprise that they report to the

public and government as legitimate income, business operations and or financial/economic gains.

Plaintiff reserves the right to transfer the action or complaint to alternate jurisdictions, as necessary in

the interest of justice, and amend the action to include the full/correct names and identities of any

 

 
 

 

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additional Plaintiffs (including children, grandchildren, assorted relatives, and associates of the
Plaintiffs), to add the Defendants whose names/ identities have been withheld or made unavailable at the

time of this action and listed as “Doe Defendants” at the time of filing this statement.

Prayer for Relief

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For these reasons as outlined in paragraphs 1 - 48 the Plaintiffs are demanding pecuniary damages in the
amount of $500, 000, 000 (five hundred million dollars) in punitive or general damages in this action
submitted in the US District Court of the Southern District of New York.

Plaintiffs demand court ordered permanent cease and desist restraining orders be issued against all of the
Defendants to end any and all of the Defendants’ decades long and continuing criminal conduct as
outlined in this action where the Defendants have made a sociopathic, decades long scheme of human
trafficking, criminal sexual assault, financial exploitation, psychological torture, harassment, sexual
harassment into a criminal enterprise targeting the Plaintiffs 1 & 2 by alleging the Defendants 1-3 have a
created a purchase agreement for and are maintaining ownership of Plaintiff #1 and Plaintiff 2&3’s
other offspring (some of whom are still minors).

Plaintiffs demand court ordered, permanent cease and desist with restraining order issued against the
Defendants be extended to include all members of the Plaintiffs’ families; including children,
grandchildren, extended family (cousins, aunts, uncles, grandparents, etc.), and the Plaintiff’ businesses,
business partners/clients, friends and romantic partners such as spouses or unmarried lovers anywhere in
the world due to the Defendants having shown a very specific interest and propensity for targeting with
criminal intentions ,including but not limited to, of harassment, spying, stalking, tortious interference,
financial exploitation and criminal sexual intents the People and Businesses closely associated with the
Plaintiffs.

Plaintiffs demand any and all fair & equitable relief as available to award by the court to redress the
damages the Plaintiffs’ sustained through the decades of trauma from the exploitation, sex crimes, child

abuse, sexual assaults resulting in feticide, sexual harassment, financial abuse/economic damages,
 

 

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discrimination, child sex/human trafficking for profit, numerous & repeated drugged sexual assaults,
sexual battery, tortious interference in relationships (both business and personal}, unlawful surveillance
(spying), gross invasion of privacy, cross-country stalking of a minor, cross-country stalking of adults,
psychological torture, repeated kidnappings/abductions, hostage taking and emotional harm, ef al,
outlined in this civil action. The Plaintiffs sustained these damages that were caused intentionally or
consequentially from the numerous crimes & unlawful acts willfully commiited against them by the
Defendants in the Defendants’ reckless & wanton disregard for the law in perpetrating a lucrative
criminal operation targeting the Plaintiffs. Despite the Plaintiffs numerous and repeated demands for the
Defendants to cease & desist their extreme and egregious criminal misconduct since ait least 1988 the
Defendants extreme conduct has continued, in various forms, throughout the year 2020 with little to no
intention of the Defendants willingness to stop their criminal conduct without lawsuit or their arrests on
criminal charges to totally disrupt or disband the global criminal enterprise they’ ve erected over three

decades.

I declare under the penalty of perjury that above statements contained in this filing in the United
States District Court in the Southern District of New York are true and understand the penalty of any
false statement. Signed in the County of Dallas, State of Texas, August 20,2020 3:10pm

Submitted respectfully,
Charlene . Kstham
Charlene272(@hotmail.com
14+469.751.5068

4900 Airport Parkway
Addison TX 75001
 

 

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August 20, 2020
Attn: USDNY COURT

Pro Se Intake Unit (Roam 200)
500 Pearl St
NY NY 10007

RE: Latham(s) v. 1953 Trust, Harvey Weinstein, Shawn Carter & other defendants;
Court Action: Plaintiff Statement of the Case
Dear Court:

Please allow this correspondence to explain that |, Charlene Latham, one of the Plaintiffs, submitted the enclosed
document “Plaintiff Statement of The Case” to initiate the action and obtain a case number. The pending formal
complaint will be submitted separately.

Additionally, t formally request permission to use the Electronic Case Filing system. | have experience in using the ECF
system for other jurisdictions and did begin completing the required training course to use the New York ECF system, |
have technical experience and legal experience to be permitted use and consent to receiving all case communication
electronically via the email provided below.

It is requested that all communication be sent electronically as the USPS mail delivery system has been extremely
disrupted and almost inoperable in use for me to receive mail in traditional formats for the past 2 % years. The USPS
failure to deliver or process mail for more than 2 years is a separate, but ongoing, issue that would also make it
necessary to use the ECF system.

Thank you for your attention.

Sign spectfully,

Charlene ¥. Latham

P: (469) 751-5068 .
E. Charlene272@hotmail.com

Filed in US District Court of Southern District of New York
08/20/2020
 

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